        Case 1:21-mj-00526-RMM Document 1-1 Filed 07/14/21 Page 1 of 27




                                    STATEMENT OF FACTS

        Your affiant, Trevor Culbert, is a Special Agent (SA) with the Federal Bureau of
Investigation (FBI), and has been so employed since March 2004. I am currently assigned to
Phoenix Division, Flagstaff Resident Agency. My duties include investigating violations of the
laws of the United States, specifically investigations related to domestic and foreign terrorism. I
have received training in the preparation, presentation, and service of arrest warrants, and have
been involved in the investigation of numerous types of offenses against the United States,
including those who knowingly enter or remain in any restricted building or grounds without
lawful authority to do so. Your affiant is vested with the authority to investigate criminal acts under
Title 18 and Title 40 of the United States Code.

        Currently, I am a tasked with investigating criminal activity in and around the Capitol
grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a Government
agency to engage in or supervise the prevention, detention, investigation, or prosecution of
violations of Federal criminal law.

        The information contained in this affidavit is based upon my personal knowledge, training,
experience, my consultation with other experienced law enforcement officers, and the
investigation conducted by myself and other law enforcement officers. I have not included each
and every fact known to me concerning this investigation. Due to the fact that this affidavit is being
made to establish probable cause, your affiant has not listed each and every fact known regarding
the investigation of this incident.

        The U.S. Capitol is secured twenty-four hours a day by U.S. Capitol Police (USCP).
Restrictions around the Capitol include permanent and temporary security barriers and posts
manned by USCP. Only authorized people with appropriate identification are allowed access
inside the Capitol. On January 6, 2021, the exterior plaza of the Capitol was also closed to members
of the public.

       On January 6, 2021, a joint session of the United States Congress convened at the Capitol,
which is located at First Street, SE, in Washington, D.C. During the joint session, elected members
of the United States House of Representatives and the United States Senate were meeting in
separate chambers of the Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on Tuesday, November 3, 2020. The joint session
began at approximately 1:00 PM. Shortly thereafter, by approximately 1:30 PM, the House and
Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Pence present and presiding over the Senate, a large crowd gathered outside the Capitol. As noted
above, temporary barricades and permanent barricades were in place around the exterior of the
Capitol. USCP were present and attempting to keep the crowd away from the Capitol building and
the proceedings underway inside.




                                             Page 1 of 27
           Case 1:21-mj-00526-RMM Document 1-1 Filed 07/14/21 Page 2 of 27




       At such time, the certification proceedings were still underway, and the exterior doors and
windows of the Capitol were locked or otherwise secured. Members of the USCP attempted to
maintain order and to keep the crowd from entering the Capitol. However, around 2:00 PM,
individuals in the crowd forced entry into the Capitol. Some members of the crowd gained access
and entry to the Capitol by breaking windows and assaulting members of the USCP. Others in the
crowd encouraged and assisted those acts.

        Shortly thereafter, at approximately 2:20 PM, members of the House of Representatives
and Senate, including the President of the Senate, Vice President Pence, were instructed to—and
did—evacuate the chambers. Accordingly, the joint session of the United States Congress was
effectively suspended until shortly after 8:00 PM. Vice President Pence remained in the Capitol
from the time he was evacuated from the Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the Capitol without
authority to be there. One of the individuals who was inside the Capitol without authority to be
there has been identified as Nathan Wayne Entrekin.

       The individual who would later be identified as the defendant—Nathan Wayne
Entrekin—stood out from the crowd due to the outfit he chose to wear on January 6, 2021, in part
because of the temperature,1 and in part because of the unique nature of the costume.

       In all the photos and videos of the defendant, he is carrying a wooden dowel with a piece
of white cloth attached. The cloth appears to have the following text handwritten on it:

           IN MEMORY OF OUR GOD, OUR RELIGION, AND FREEDOM, AND OUR
           PEACE, OUR WIVES, AND OUR CHILDREN. ALMA 46:12

                       Background on Captain Moroni and the Title of Liberty2

        Captain Moroni is a figure from the Book of Mormon, a text that members of the Church
of Jesus Christ of Latter-day Saints and its offshoots consider a historical account of Israelites who
traveled from Jerusalem to an unknown location in the Americas around 600 B.C. Within the Book
of Mormon, at or around the year 73-72 B.C. (by the book’s own timeline), Cpt. Moroni sought to
defend the liberties of his people—the Nephites—from another group—the Amalickiahites—that
wanted to overthrow democracy and install a king.3

1
 According to a search of historical temperature data on the ncdc.noaa.gov, the temperature in Washington, D.C., on
January 6, 2021, was between 40 F and 43 F. https://www.wunderground. com/history/daily/KDCA/date/2021-1-6.
2
  Context and understanding play a large role in this case, especially in establishing the defendant’s intent and state of
mind as he travelled to Washington, D.C., went to the Capitol, and went inside. Given the fact that the plot of the
Book of Mormon and the story arcs of its figures—especially Captain Moroni—are essential to understanding the
defendant’s actions on January 6, 2021, your affiant includes a brief summary of Captain Moroni and the Title of
Liberty.
3
    Alma 46, Book of Mormon (https://www.churchofjesuschrist.org/study/scriptures/bofm/alma/46 ?lang=eng).



                                                      Page 2 of 27
            Case 1:21-mj-00526-RMM Document 1-1 Filed 07/14/21 Page 3 of 27




        In response to this threat to the Nephites’ democracy, Cpt. Moroni tore his coat and wrote
the following words thereupon: IN MEMORY OF OUR GOD, OUR RELIGION, AND
FREEDOM, AND OUR PEACE, OUR WIVES, AND OUR CHILDREN.4 Cpt. Moroni called it
the Title of Liberty.5 After establishing the Title of Liberty, Cpt. Moroni and his followers executed
anyone who rejected the Title of Liberty or who refused to accept democracy over tyranny.6 Cpt.
Moroni then displayed the Title of Liberty in “every tower which was in all the land, which was
possessed by the Nephites.”7
        Years later, another group—the King-Men—began conspiring to “overthrow the free
government and to establish a king over the land.”8 In response, Cpt. Moroni, Title of Liberty in
hand, gathered his army and marched against the King-Men.

            “[A]nd [the army of Cpt. Moroni] did pull down [the] pride and [the] nobility [of
            the King-Men], insomuch that as [the King-Men] did lift their weapons of war to
            fight against the men of Moroni they were hewn down and leveled to the earth. And
            it came to pass that there were four thousand of those dissenters who were hewn
            down by the sword; and those of their leaders who were not slain in battle were
            taken and cast into prison, for there was no time for their trials at this period.”9

            Open Source Videos and Photographs of the Defendant from January 6, 2021

       In one open source video that appears to have been recorded on January 6, 2021,10 an
individual identified as the defendant stated in sum and substance:

ENTREKIN:                  I am Captain Moroni. I am the William Wallace11 of the Book of
                           Mormon. In the Book of Alma of the Book of Mormon, a freedom
                           fighter named Captain Moroni fought for his freedom against the
                           King-Men. He was a Freeman, part of the Freemen movement. And
                           around, I like to say 76 B.C. because 1776 sounds so—is so
                           popular—but before Christ came to Jerusalem, in this land, the Book
                           of Mormon is about this land, right? The same fight for freedom,
                           this land, the same land, right here, upon which we stand, the native
                           American Indians they have Jewish DNA, descent. I can tell you
                           about, you can Google that, the Algonquin Indians have Native

4
    Id. at verse 12.
5
    Id. at verse 13.
6
    Id. at verse 35.
7
    Id. at verse 36.
8
    Alma 51:5.
9
    Alma 51:18-19.
10
     https://youtu.be/k5tUC4S3Reo?t=1613.
11
  A likely reference to Sir William Wallace (born circa 1270), one of Scotland’s greatest national heroes and the chief
inspiration for Scottish resistance to the English king Edward I. (https://www.britannica.com/biography/William-
Wallace) William Wallace was popularized in the 1995 Academy-Award winning film Braveheart, as portrayed by
actor and director Mel Gibson.



                                                     Page 3 of 27
           Case 1:21-mj-00526-RMM Document 1-1 Filed 07/14/21 Page 4 of 27




                            American, have, uh, Jewish descent in their DNA, there’s evidence
                            of the Book of Mormon. I don’t want to get too much into that. I’m
                            here for freedom. You’re here for freedom. Captain Moroni ripped
                            his coat and he wrote this message right here. And if I can get it
                            open, it says . . .

INTERVIEWER:                What does it say?

ENTREKIN:                   It says: In memory of our God, and our religion, and our freedom,
                            and our peace, our wives, and our children. And it was called the
                            Title of Liberty, and he held it up high when he fought against the
                            King-Men, and they slayed the King-Men.

                            Babylon was going to destroy Jerusalem, the prophecy, Isaiah,
                            everybody was saying Jerusalem is going to get destroyed, I take it
                            back, it might not be Isaiah.

                            So, Lehi and his family—Nephi and Laman and Lemuel and Sam—
                            came to the Americas and about the time before Jesus came again,
                            about 50 to 100 B.C. About 50 to 100 B.C., that fight happened, that
                            I just spoke of.

                            And I am here to represent that, the Mormon element.

                            ‘Cause a lot of people are like Mitt Romney, you know, and I, you
                            know, there’s a lot of infiltrators in our nation, in our Capitol, in our
                            churches. I think Mitt Romney might be one of those people, they
                            have sold out to the system, and I just want to say, you know, I, I’m
                            here for freedom and peace and liberty and love and happiness.

       In another open source video that appears to have been taken during the evening hours of
January 6, 2021,12 the defendant stated in sum and substance:

ENTREKIN:                   And if you believe the Book of Mormon, it says the people were
                            inhabitants in this land many thousands or hundreds of years ago.
                            And so, this is about a freedom fight. The freedom fighters and
                            Captain Moroni fought against people who called themselves King-
                            Men, and we are the Freemen, and they are called the Freemen.

INTERVIEWER:                Are you for the man Trump?

ENTREKIN:                   And so yes, in that regard, yes, I am for Trump and for the, uh,
                            making sure that everything is done correctly as far as the elections
                            and everything. I don’t . . .

12
     https://twitter.com/lauhaim/status/1346946547964112897



                                                   Page 4 of 27
         Case 1:21-mj-00526-RMM Document 1-1 Filed 07/14/21 Page 5 of 27




INTERVIEWER:             So, what is going to happen though?

ENTREKIN:                I don’t know. I don’t know. But I hope, I have a hope that we will,
                         that things will work out. God is in control. God has all power and
                         get the people, the power of the people, do have this power. And I
                         hope that we do this peacefully. Whatever we do, I hope that it’s
                         peaceful. Thank you, sir.

       Other photos and videos of the defendant were shared across various news and social media
platforms on January 6, 2021, and in subsequent days.




IMAGE 1—The defendant in a photograph posted publicly to Instagram by a person whose identity is known to the
FBI at approximately 5:56 PM on January 6, 2021, in Washington, D.C. (https://www.instagram.com/
p/CLQ0oqlrAp0)




                                                Page 5 of 27
         Case 1:21-mj-00526-RMM Document 1-1 Filed 07/14/21 Page 6 of 27




IMAGES 2, 3—The defendant in two publicly available photographs that were posted to Twitter from accounts that
are known to the FBI.




IMAGE 4—The defendant in a publicly available screenshot of a news broadcast from January 6, 2021, that was
posted to Twitter from an account that is known to the FBI.




                                                 Page 6 of 27
         Case 1:21-mj-00526-RMM Document 1-1 Filed 07/14/21 Page 7 of 27




        On or about January 11, 2021, a tipster whose identity is known to the FBI contacted the
FBI and identified the individual depicted in publicly available photographs as the defendant,
Nathan Wayne Entrekin. Based on information provided by the tipster and additional
information found by the FBI in a review of public databases and open source intelligence
(OSINT), the FBI attempted a non-custodial interview of the defendant at the defendant’s address
of record in Cottonwood, Arizona, on February 2, 2021. Prior to beginning the non-custodial
interview, the defendant was advised of the identity of the interviewing agents and of the nature
of the interview.

       During the interview, the defendant stated in sum and substance that the calls of former
president Donald Trump inspired him to attend the rally in Washington, D.C., on January 6, 2021.
To get to Washington, D.C., from Cottonwood, Arizona—a journey of over 2,200 miles—the
defendant stated that he drove there by himself in his personal car. The defendant disclaimed
coordinating on a larger scale with any other person or group.

        Based on a screenshot taken from the defendant’s twitter account on December 31, 2020,
it appears that the defendant planned on attending the rally dressed as Captain Moroni.




IMAGES 5, 6—(left) A screenshot of the defendant’s Twitter account (now deactivated) that shows a post from
December 31, 2020, with the caption: HEY PATRIOTS! CAPTAIN MORONI IS COMING TO DC ON JAN. 6 YAY!
ALMA 46:12. (right) Captain Moroni Raises the Title of Liberty, a painting by Arnold Friberg and posted by the
defendant to his Twitter account on December 31, 2020, in conjunction with the previously described caption.
(https://www.churchofjesuschrist.org /media/image/captain-moroni-title-liberty-82ae654?lang=eng)




                                                 Page 7 of 27
            Case 1:21-mj-00526-RMM Document 1-1 Filed 07/14/21 Page 8 of 27




       The defendant further stated that he missed then-President Trump’s speech on the morning
of January 6, 2021. The defendant claims that at approximately 11:30 AM, he saw a mass of people
walking towards the Capitol. He decided to follow them.
        The defendant further stated that while he was on the lawn of the Capitol, he became aware
that law enforcement officers (LEOs) at the Capitol sprayed individuals with a chemical irritant.
The defendant further stated that he pushed onward and claims to have entered the Capitol
approximately one hour after other protestors initially breached the Capitol.
        The defendant further claimed that he was not aware he was not allowed in the Capitol. He
claimed that he was unaware of any police telling him to exit or informing him that he was
trespassing. The defendant described the crowd as dense and he claimed that individuals were
being herded inside of the building at bottleneck points.
       The defendant used the words “solemn” and “revered” when asked to describe his
experience in the Capitol. The defendant claimed that when he observed broken glass and the
“looting of offices,” he felt the need to depart the Capitol immediately.
        During the non-custodial interview, the defendant gave the FBI written consent to search
his phone. While searching the defendant’s phone, the FBI viewed and preserved several videos
that appear to have been taken by the defendant during his time at the Capitol. As will be shown
below, the videos at times confirmed and at times contradicted the claims that the defendant made
to the FBI. The defendant appears to have made the videos for his mother—with whom he lives in
Cottonwood, AZ—as he often speaks directly to her during the recording.
       The following is a summary of the videos obtained from the defendant’s phone. It is not
intended to be verbatim and does not memorialize all statements made during the video. The videos
should be consulted for actual words spoken and are considered the ultimate authority of what was
said.
                                                  VIDEO #1
                                          January 6, 2021, 1:55 PM 13

ENTREKIN:                    [to another protester] What happened? Pence? Oh, he did?
PROTESTER #1:                He’s a sellout. He’s selling out.14
ENTREKIN:                    Okay we’re pushing. Push! Okay, I’m sorry, I’m going to push you,
                             we’re pushing.
                             I’m here, Mom! This is my flag.



13
     Times are approximate and based on the names of the video files recovered.
14
   Based on the approximate time at which this video was taken, defendant and the unidentified protester are likely
referring to the news that Mike Pence had recently released an official statement in which he stated that he would not
interfere with the certification of the vote. See https://www.cbsnews.com/news/read-pence-letter-saying-he-lacks-
authority-to-decide-election/.



                                                     Page 8 of 27
         Case 1:21-mj-00526-RMM Document 1-1 Filed 07/14/21 Page 9 of 27




IMAGE 7—A screenshot from a video (VIDEO 1) recovered from the defendant’s phone. The screenshot shows the
flag that the defendant brought to the Capitol on January 6, 2021, and that the defendant referred to as the Title of
Liberty.

ENTREKIN:                  They’re doing tear gas right, uh, in the front, into the crowd, and it’s
                           coming over here it looks like a little bit. We’re trying to push, I’m
                           sorry, let’s push, are we pushing? Oh, we gotta be careful. Shit. Aw
                           fu . . . Oh come on. I think we’re . . . there’s . . . We’re packed pretty
                           good in here. There are so many people in here.
                           This is awesome.




                                                    Page 9 of 27
        Case 1:21-mj-00526-RMM Document 1-1 Filed 07/14/21 Page 10 of 27




CROWD:                    [cheering as an unidentified individual with a flag appears atop the
                          north west inaugural scaffolding]




IMAGE 8—A screenshot from a video (VIDEO 1) recovered from the defendant’s phone. The screenshot shows the
crowd cheering as an unknown individual with an American flag reached the top of the north west scaffolding of the
Inauguration Stage.

ENTREKIN:                 Who is that, Ted Cruz? Ted Cruz? Who is that, Ted Cruz? I think it
                          was just a dude, wasn’t it?
CROWD:                    [repeating] U-S-A! U-S-A!
ENTREKIN:                 U-S-A! U-S-A, baby! Freedom!
CROWD:                    [repeating call and answer] Whose house? Our house!
ENTREKIN:                 Sorry, sorry, my arm’s in the way. Are we going? Are we going?
                          Are we going up? Are we going up? This is a good workout.
                          Forward, forward, forward.



                                                  Page 10 of 27
        Case 1:21-mj-00526-RMM Document 1-1 Filed 07/14/21 Page 11 of 27




                                                 VIDEO #2
                                           January 6, 2021, 2:30 PM

ENTREKIN:                  I made it Mom. I made it to the top. Mom, look, I made it to the top,
                           to the top here. Look at all the patriots here. Haha, if I can make it
                           up that, anybody can. [laughs] Oh man. Look at all the patriots here.
                           Patriots, patriots, patriots. Look at all the people, Mom. Look at all
                           that down there. And the monuments over there, way over there. I
                           gotta catch my breath here. Sorry. Haha.
                           [yelling to an unseen protester] Captain Moroni! Same fight, same
                           place, different time. 76 B.C.!
                           I’m here for Trump. Four more years, Donald Trump! Our rightful
                           president!
                           I made it to the relative top, anyway. Oh my gosh, how many of us
                           are here? Must be like, millions. Couple million, maybe. I keep
                           running into trees, though. I gotta get this first, though, before my
                           costume falls off me. Check this out, Mom. All those people.




IMAGE 9—A screenshot from a video (VIDEO 2) recovered from the defendant’s phone. The screenshot shows the
crowd as recorded by the defendant after he reached an upper level of the west side of the Capitol. The defendant
estimated that there were one or two million protesters in attendance.

ENTREKIN:                  Oh, wow. That’s not bad. That might be a million.15


15
  There is no widely accepted or verified number for how many protesters attended Trump’s January 6, 2021, rally.
See      https://theconversation.com/it-is-difficult-if-not-impossible-to-estimate-the-size-of-the-crowd-that-stormed-
capitol-hill-152889.


                                                    Page 11 of 27
       Case 1:21-mj-00526-RMM Document 1-1 Filed 07/14/21 Page 12 of 27




PROTESTER #2:           Hey Caesar!
ENTREKIN:               Captain Moroni!
PROTESTER #2:           You look great man.
ENTREKIN:               Thank you! Sorry, I’m falling apart. I’m actually . . .
PROTESTER #2:           How’d you get up here with that sword, anyhow?
ENTREKIN:               I made it. I don’t know how I made it. I went the hard way. Oh, man,
                        I made it.
PROTESTER #3:           Well, the Rubicon just keeps getting wider and wider, eh?
ENTREKIN:               Yeah, this is Captain Moroni of the Book of Mormon. The same
                        fight, same place, if you believe the Book of Mormon, the Nephites
                        and Lamanites lived here . . .
                                             VIDEO #3
                                      January 6, 2021—2:41 PM
ENTREKIN:               Here comes the riot police, Mom.




IMAGE 10—A screenshot from a video (VIDEO 3) recovered from the defendant’s phone. The screenshot shows a
crowd gathering at the north west corner of the Capitol.




                                              Page 12 of 27
        Case 1:21-mj-00526-RMM Document 1-1 Filed 07/14/21 Page 13 of 27




                                             VIDEO #4
                                      January 6, 2021—2:45 PM

ENTREKIN:               Here we are again. That’s the Capitol, right there. And I’m gonna
                        start doing my thing now again. [points to flag] So, there we go.




IMAGE 11—A screenshot from a video (VIDEO 4) recovered from the defendant’s phone. The screenshot shows the
defendant while he was narrating events for his mother.


                                             VIDEO #5
                                      January 6, 2021—2:58 PM

                        [alarms blaring]
CROWD:                  [repeating call and answer] Whose house? Our house!
ENTREKIN:               I’m inside. I’m inside. I’m inside the, I’m inside the Capitol now.
                        [joining in the chanting] OUR HOUSE!
                        [pans video to a male protester without a shirt]
                        Hi! Oh shoot, it’s wet over here. It’s very wet. What happened in
                        here? Oh my gosh.
                        [repeating buzzing sound]




                                               Page 13 of 27
        Case 1:21-mj-00526-RMM Document 1-1 Filed 07/14/21 Page 14 of 27




ENTREKIN:                  What’s that sound? Huh? Taser? That’s a taser? What, a
                           machinegun taser? Hahaha! Something’s going on, they’re pushing
                           us back out. Some kind of machinegun taser or something. I don’t
                           know what the hell is going on.
                           I want to go in here though.
                           [enters Senate Parliamentarian’s office]
                           Oh shit. Oh Mom. I don’t think you want to be here, Mom. I mean
                           you do want to be here, but in spirit. Yeah, haha. Oh my gosh. Oh
                           my gosh. What happened?




IMAGE 12—A screenshot from a video (VIDEO 5) recovered from the defendant’s phone. The screenshot shows the
interior of the Senate Parliamentarian’s office at approximately 2:59 PM on January 6, 2021. An unidentified
individual can be seen putting their feet on a desk and another unidentified individual can be seen standing close by.

ENTREKIN:                  Holy shit. Oh my gosh, they broke the . . . oh shoot, they looted. Oh
                           shit. I gotta go. We gotta go, we gotta get out of here.




                                                    Page 14 of 27
        Case 1:21-mj-00526-RMM Document 1-1 Filed 07/14/21 Page 15 of 27




IMAGE 13—A screenshot from a video (VIDEO 5) recovered from the defendant’s phone. The screenshot shows the
interior of the Senate Parliamentarian’s office at approximately 2:59 PM on January 6, 2021. Several unidentified
individuals and an American flag can be seen outside of a broken window.

ENTREKIN:                 We gotta go. Oh shit. We gotta, we gotta go. Rubber bullets, rubber
                          bullets. Shit! Can we get out that way? No? Oh shit. Oh shit.
                          C’mon you guys, c’mon you guys. We got faith in you. I have faith
                          in you. Press it out, press it out. Let us out you guys. Press it out.
                          C’mon. Stay calm. We got it, we got it, we got it. Stay calm guys.
                          Don’t worry, we got it. We’re coming out, we’re coming out. Stay
                          calm. We’re moving, we’re moving. Stay calm back there. Stay
                          calm. Good job, guys, good job.
                          [alarms blaring]




                                                 Page 15 of 27
         Case 1:21-mj-00526-RMM Document 1-1 Filed 07/14/21 Page 16 of 27




                                                VIDEO #6
                                         January 6, 20-21—3:01 PM

PROTESTER #4:             Traitors get the rope!
ENTREKIN:                 They had rubber bullets. Haha. He took whiskey. That guy’s got a
                          whiskey bottle.




IMAGE 14—A screenshot from a video (VIDEO 6) recovered from the defendant’s phone. The screenshot shows an
unidentified individual holding a bottle of amber liquid as he leaves the Capitol through the door just outside the
Senate Parliamentarian’s office.

ENTREKIN: They raided this office. They broke the windshields right here.




                                                   Page 16 of 27
        Case 1:21-mj-00526-RMM Document 1-1 Filed 07/14/21 Page 17 of 27




IMAGE 15—A screenshot from a video (VIDEO 6) recovered from the defendant’s phone. The screenshot shows an
unidentified individual draped in an American flag standing by a broken window of the Capitol.


PROTESTER #5:           [using bullhorn] Come on in! Bring it in!




IMAGE 16—A screenshot from a video (VIDEO 6) recovered from the defendant’s phone. The screenshot shows an
unidentified individual holding a bullhorn and encouraging other protestors to enter the Capitol.




                                              Page 17 of 27
        Case 1:21-mj-00526-RMM Document 1-1 Filed 07/14/21 Page 18 of 27




ENTREKIN:               Why can’t you people just do what we want? Why do you gotta
                        make it so hard? Why do you take our money and use it for nefarious
                        purposes? Every man woman and child should have a house in this
                        free nation. We should not have homeless at all. We’re a rich enough
                        nation everyone can have a house of their own. $600 my ass. Get us
                        a fuckin’ house! Buy us houses! You shut us down and you stay up?
                        You keep our money? I know, my mom’s gonna hear that. Sorry,
                        Mom. I dropped some f-bombs. Hahaha.
                                             VIDEO # 7
                                      January 6, 2021—3:03 PM
CROWD:                  [chanting] Traitors get the rope!
ENTREKIN:               I’m deeply saddened, and yet I’m deeply humbled at the same time.
                        I’m sad yet I’m happy. Yeah. We the People . . .
                                             VIDEO # 8
                                      January 6, 2021—3:08 PM
ENTREKIN:               Looks like I went to the other side. I guess this is the other side here.
                        [chanting with crowd] U-S-A! U-S-A!




IMAGE 17—A screenshot from a video (VIDEO 8) recovered from the defendant’s phone. The screenshot shows the
defendant who is recording himself while chanting U-S-A, U-S-A.

ENTREKIN:               [chanting to the crowd’s rhythm of U-S-A] No more Taco Bell. I’m
                        too fat. Hahaha.
PROTESTER #6:           Where are the traitors? Bring them out!



                                               Page 18 of 27
        Case 1:21-mj-00526-RMM Document 1-1 Filed 07/14/21 Page 19 of 27




ENTREKIN:                 U-S-A! Wow, wow! This is a big-ass place. Where’s my ice cream,
                          Nancy?16 Hahaha.
                          Hello? Can, uh, are we coming in? What’s in there? What’s in there?




IMAGE 18—A screenshot from a video (VIDEO 8) recovered from the defendant’s phone. The screenshot shows what
the defendant recorded as he entered the Captiol Crypt.

ENTREKIN:                 [enters Crypt] Oh wow. [inaudible] This is our house! Wow, Mom.
                          I wish you were here with me. It’s really exciting in here. It’s joyful
                          and it’s sad at the same time.
                          We can’t let Biden . . . to be our president. We can’t . . . there’s no
                          way.
PROTESTER # 7:            Hail Caesar!
ENTREKIN:                 Peaceful, peaceful, peaceful.
                          FREEDOM!
CROWD:                    [chanting] U-S-A! U-S-A! Our house! Our house!
ENTREKIN:                 Our house! Our house!




16
  This and subsequent references to Nancy Pelosi and ice cream may be a reference to a widely shared video in which
House Speaker Nancy Pelosi tells The Late Late Show’s host James Corden about her freezer that she keeps stocked
with ice cream. https://twitter.com/SpeakerPelosi/ status/1250080704446238725.


                                                  Page 19 of 27
     Case 1:21-mj-00526-RMM Document 1-1 Filed 07/14/21 Page 20 of 27




ENTREKIN:       We gotta make way for the others. Make way for the others. There’s
                more of us. We gotta take turns, we’re taking turns guys. We gotta
                take turns.
                [to another protester] Captain Moroni. The Book of Mormon. The
                William Wallace of the Book of Mormon. Captain Moroni. Alma
                Chapter 46. But I’m here for freedom, and you’re here for freedom.
                FREEDOM!
CROWD:          FREEDOM!
ENTREKIN:       We are not antifa.
PROTESTER #8:   I like your outfit.
ENTREKIN:       I wish I wasn’t so damn fat. Hahaha.
PROTESTER #8:   Well, it’s okay.
ENTREKIN:       I’m representing Captain Moroni, Captain Moroni of the Book of
                Mormon. A William Wallace figure of the Book of Mormon.
PROTESTER #8:    Wow!
ENTREKIN:       Captain Moroni, uh, was a Freeman, fighting for the free cause
                against the King-Men.
PROTESTER #8:   You’re a Mormon?
ENTREKIN:       Yes, uh, LDS, Mormon.
PROTESTER #8:   I gotta go this way. [indicating a direction opposite of the defendant]
ENTREKIN:       Okay.
PROTESTER #8:   Nice to meet you.
ENTREKIN:       Nice to meet you. Can I go in here? [indicating Room S140, Sen.
                Jeff Merkley’s (D-OR) Office]
                [shouting to the protesters inside Room S140] Where’s my ice
                cream?




                                      Page 20 of 27
        Case 1:21-mj-00526-RMM Document 1-1 Filed 07/14/21 Page 21 of 27




IMAGE 19—A screenshot from a video (VIDEO 8) recovered from the defendant’s phone. The screenshot shows two
unidentified individuals inside Room S140 after the defendant went through the door.
ENTREKIN:                [to a protester] I just went in there, where’s my ice cream? Hahaha.
                         I want my ice cream! Nancy, where’s my ice cream?!
CROWD:                   Stop the steal! Stop the steal!
PROTESTER #9:            Antifa never did this shit!
ENTREKIN:                Nope, nope. That’s true. That’s true. Nope, you’re right.
                         All right, I guess uh with respect to the people that are coming in I
                         gotta get out. We got more people who want to come in, we gotta
                         respect that too, you know.
                         Ope, sorry you guys. Uh, well, whoa. Alright. I’m glad they’re not
                         doing rubber bullets anymore. They were on the other side. I
                         should’ve bought that centurion helmet after all. Alright. Gotta go,
                         mom. Yo!




                                               Page 21 of 27
        Case 1:21-mj-00526-RMM Document 1-1 Filed 07/14/21 Page 22 of 27




                                             PHOTOGRAPH #1
                                          January 6, 2021—3:34 PM

       The defendant’s phone also contained the subsequent photograph that shows the defendant
dressed in his costume. Based on a visual comparison, the defendant’s outfit appears to be what is
available on the internet as a Roman Gladiator Costume.




IMAGES 20, 21—(left) A photograph recovered from the defendant’s phone showing a full body shot of the defendant
as he appeared on January 6, 2021. (right) A screenshot from a listing for the Plus Size Roman Gladiator Costume
on an online retailer’s website. The costume appears to be identical to the one the defendant wore on January 6, 2021.




                                                    Page 22 of 27
        Case 1:21-mj-00526-RMM Document 1-1 Filed 07/14/21 Page 23 of 27




                   CCTV Confirms the Defendant Breached the Capitol Twice




IMAGE 22—A screenshot from the Capitol’s CCTV showing the defendant entering the Capitol through the door just
outside the Senate Parliamentarian’s office.




IMAGE 23—A screenshot from the Capitol’s CCTV showing the defendant recording video inside the Capitol.




                                                Page 23 of 27
         Case 1:21-mj-00526-RMM Document 1-1 Filed 07/14/21 Page 24 of 27




IMAGE 24—A screenshot from the Capitol’s CCTV showing the defendant entering the Senate Parliamentarian’s
office. It does not appear that the defendant was being pushed or herded into the office. In VIDEO 5, before entering
the Senate Parliamentarian’s office, the defendant states: SOMETHING’S GOING ON, THEY’RE PUSHING US
BACK OUT. SOME KIND OF MACHINEGUN TASER OR SOMETHING. I DON’T KNOW WHAT THE HELL IS
GOING ON. I WANT TO GO IN HERE THOUGH.




IMAGE 25—A screenshot from the Capitol’s CCTV showing the defendant taking a selfie or recording himself while
being forced out of the Capitol for the first time through the door just outside the Senate Parliamentarian’s office.




                                                   Page 24 of 27
         Case 1:21-mj-00526-RMM Document 1-1 Filed 07/14/21 Page 25 of 27




IMAGES 26, 26A—(left) A screenshot from the Capitol’s CCTV showing the defendant reentering the Capitol after
being forced out of the hallway near the Senate Parliamentarian’s office. (right) A close-up of the defendant as he re-
entered the Capitol. It does not appear that the defendant is being pushed, forced, or herded into the Capitol against
his will.

              Inconsistencies Between the Defendant’s Claims and Video Evidence

        During the non-custodial interview of the defendant, the defendant made several claims
that are inconsistent with the video that the defendant recorded and narrated. For example, the
defendant claimed that he was not aware that he was not allowed in the Capitol. The defendant
further claimed that individuals were basically being herded into the building. The defendant
further claimed that his experience inside the Capitol was “solemn” and “revered.” The defendant
further claimed that when he observed broken glass and the looting of offices, he felt the need to
depart the Capitol immediately.
       These claims are inconsistent with the fact that the defendant identified very early that he
could see and smell tear gas (VIDEO 1). The defendant also made a point of narrating to his mother
when the “riot police” arrived (VIDEO 3).
       When the defendant first entered the Capitol through the door just outside the Senate
Parliamentarian’s office, one can hear an alarm blaring, he saw water on the floor, he said that
“they” were pushing the crowd back out, and he heard what he identified as “machinegun tasers”
(VIDEO 5). Still, he pushed forward and entered the Senate Parliamentarian’s office.
        Inside the Parliamentarian’s office, the defendant recorded the destruction and what he
described as looting. He recorded the papers strewn about and broken windows, expressed distress.
The defendant further began shouting that LEOs were using rubber bullets. Only at this time did
the defendant leave the Capitol for the first time. He would reenter a short time later.
       Before reentering the Capitol, and while standing in the north west plaza, the defendant
laughed about a bottle of whiskey that he thought had been stolen from the Parliamentarian’s office
(the defendant misidentified it as Nancy Pelosi’s office); he recorded protesters chanting:


                                                    Page 25 of 27
       Case 1:21-mj-00526-RMM Document 1-1 Filed 07/14/21 Page 26 of 27




TRAITORS GET THE ROPE; and he himself harangued members of Congress, stating: WHY
CAN’T YOU PEOPLE JUST DO WHAT WE WANT? WHY DO YOU GOTTA MAKE IT SO
HARD? WHY DO YOU TAKE OUR MONEY AND USE IT FOR NEFARIOUS PURPOSES?
Still, he pushed forward.
        By approximately 3:08 PM, the defendant was back inside the Capitol, once again joining
in chants of U-S-A and OUR HOUSE (VIDEO 8). The defendant reiterated to other persons what
role he saw himself as playing that day, referring to Cpt. Moroni’s fight against the King-Men and
to William Wallace’s fight for freedom.
        The defendant pushed his way into Sen. Jeff Merkley’s office and shouted that he wanted
ice cream. The defendant agreed with another protester who stated: ANTIFA NEVER DID THIS
SHIT! Additionally, the defendant stated: We can’t let Biden . . . to be our president. We can’t . . .
there’s no way.
        Based on the foregoing, your affiant submits that there is probable cause to believe that
Nathan Wayne Entrekin violated 18 U.S.C. §§ 1752(a)(1) and (2), which make it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of 18 U.S.C. § 1752, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.




                      [THIS SPACE INTENTIONALLY LEFT BLANK]




                                            Page 26 of 27
       Case 1:21-mj-00526-RMM Document 1-1 Filed 07/14/21 Page 27 of 27




        Your affiant further submits there is also probable cause to believe that Nathan Wayne
Entrekin violated 40 U.S.C. §§ 5104(e)(2)(C)(i), (D) and (G), which make it a crime to willfully
and knowingly (C)(i) with the intent to disrupt the orderly conduct of official business, enter or
remain in a room in any of the Capitol Buildings set aside or designated for the use of—(i) either
House of Congress or a Member, committee, officer, or employee of Congress, or either House of
Congress; (D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive
conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,
disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the
orderly conduct in that building of a hearing before, or any deliberations of, a committee of
Congress or either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol
Buildings.


                                                      _________________________________
                                                      Special Agent Trevor Culbert
                                                      Federal Bureau of Investigation

       Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 14th day of July 2021.
                                                                        2021.07.14
                                                                        12:27:27 -04'00'
                                                      ROBIN M. MERIWEATHER
                                                      U.S. MAGISTRATE JUDGE




                                            Page 27 of 27
